Case 2:20-cr-00210-PD Document 32 Filed 01/26/21 Page 1of 3

Noah Gorson, Esquire

Identification No. 34323

email ne@porsonlaw.com

Arnold Silverstein, Esq

Identification No, 18344

email arnold.silverstein@gmail.com

1845 Walnut Street #1300

Philadelphia, PA 19103

(215) 569-4661 Attorneys for Defendant

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
VS. : CRIMINAL NO, 20-CR-210

MICHAEL “OZZIE” MYERS”

MOTION IN LIMINE TO DETERMINE THE ADMISSIBILITY OF EVIDENCE

1. Defendant. Michael Myers, is charged with a multi count indictment alleging conspiracy, bribery
and other charges,

2. The Government alleges that Myets acting as a political consultant paid Cooperating Defendant,
Ward Chairman of the 39" Ward, money to organize the 39" Ward for his candidates and paid him
to add false votes in the 36" division of the 39" Ward.

3. The Defense intends to present the testimony from leaders of other wards throughout the city
who were paid by Mr. Myets to organize their wards for his candidates, These witnesses will testify
that they have assisted Mr. Myers’ candidates in fultiple primary elections. ‘They will testify that Mr.
Myets never asked them to add false votes for his candidates in any election.

4, The defense submits this evidence is admissible as specific acts of good character pet 405(b) of
the Federal Rules of Evidence and as evidence of habit pet 406 of the Federal Rules of Evidence.

5. Specific instances of conduct is allowed to establish character pet 405(b) which provides:

“ By Specific Instances of Conduct. When a petson’s charactet or character trait is an
essential element of a charge, claim, or defense, the character ot trait may also be ptoved by relevant
specific instances of the petson’s conduct.”

Defendant submits his character for honesty is an essential element of the charges in this
case. Defendant further submits his good character for honesty will be established by the testimony
of proposed witnesses which testimony will aid him in establishing his defense.

7. Habit evidence is admissible per 406 which provides: Evidence of a petson’s habit or an
ofganization’s routine practice may be admitted to prove that on a patticular occasion the person or

 
Case 2:20-cr-00210-PD Document 32 Filed 01/26/21 Page 2 of 3

 

 

otganization acted in accordance with the habit ot toutine ptactice. The court may admit this
evidence regardiess of whether it is corroborated or whether there was afl eyewitness.

8. In context of Rule 406, habit is person’s or otganization’s practice of handling particular kind of
situation with specific type of conduct; habit is one’s tegular response to repeated specific situation;
and organization’s regularity of action is within putview of Rule 406, Meyer v. United States, 464 F,
Supp. 317, 3 Fed, R. Evid, Serv. (CBC) 987, 1979 U.S. Dist. LEXIS 14813 (D. Colo, 1979),

aff'd, 638 F.2d 155, 6 Fed. R. Evid. Sery, (CBC) 980, 1980 U.S, App. LEXIS 16274 (10th Cir, 1980).

9. As a consultant Myets regularly hired certain ward leaders and or other political persons in the
watd to lawfully organize the ward for his candidates in ptimary elections. He never asked these

persons to put add false votes for his candidates. This repeated behavior clearly demonstrates it is
was his habit to hire these petsons.

10, The defense submits this evidence should be admitted to prove Myers’ acted in accordance with
this habit of hiring ward leaders, et al to lawfully aid his candidates in theit ward.

RESPECTFULLY SUBMITTED:

By:_/s/ Noah Gorson
NOAH GORSON, ESQUIRE
ATTORNEY FOR DEFENDANT

By:_/s/ Arnold Silverstein
ARNOLD SILVERSTEIN , ESQUIRE
ATTORNEY FOR DEFENDANT

 
Case 2:20-cr-00210-PD Document 32 Filed 01/26/21 Page 3 of 3

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Motion was served upon the
following in the manner indicated on today's date of January 26, 2021.

ECF
Honorable Paul S. Diamond
U.S. Courthouse
601 Market Street, Room 14614
Philadelphia, PA 19106-1773

ECF
Department of Justice
United States Attorney’s Office
Bastern District of Pennsylvania
Assistant United States Attorney
Eric Gibson, Esq,
615 Chestnut Street, Suite 1250
Philadelphia, PA 19106-4476

By: _/s/ Noah Gorson
NOAH GORSON, ESQUIRE

 
